Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 1 of 24




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Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 2 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 3 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 4 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 5 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 6 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 7 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 8 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 9 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 10 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 11 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 12 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 13 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 14 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 15 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 16 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 17 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 18 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 19 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 20 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 21 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 22 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 23 of 24
Case 1:20-cv-03113 Document 1-1 Filed 10/16/20 USDC Colorado Page 24 of 24
